Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 1 of 37




            Exhibit P-5
      Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 2 of 37




                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

____________________________________
                                    :
SUSAN BYRNE,                        :          C.A. NO. 3:17-CV-01104 (VLB)
           Plaintiff                :
v.                                  :
                                    :
YALE UNIVERSITY,                    :
           Defendant                :          DECEMBER 30, 2019
___________________________________ :


                 PLAINTIFF’S PROPOSED JURY INSTRUCTIONS


Plaintiff hereby submits her Proposed Jury Instructions that are attached hereto
and made a part hereof.


                               Respectfully submitted,


                               By:   /s/ Claire M. Howard
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     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 3 of 37




                             TABLE OF CONTENTS


Requested Instruction No. 1: Title VII of the Civil Rights Act of 1964
(“Title VII”) and Connecticut Fair Employment Practices Act (“CFEPA”):
Retaliation Prohibited ……………………………………………………………… 1

      No. 1.1: Protected Activity                                         2

            No. 1.1.A: Perception of Protected Activity                   4

      No. 1.2: Knowledge of Protected Activity                            4

      No. 1.3: Adverse Employment Action                                  5

      No. 1.4: Causal Relationship                                        5

Requested Instruction No. 2: Burden of Proof – Title VII Retaliation ……... 8

Requested Instruction No. 3: Burden of Proof – CFEPA Retaliation ……… 10

Requested Instruction No. 4: Agency …………………………………………... 11

Requested Instruction No. 5: No Deferment to University Decisions …….. 13

Requested Instruction No. 6: Repeated Warnings of Impending
Retaliation ……………………………………………………………………………                                 14

Requested Instruction No. 7: Breach of Contract ……………………………               14

Requested Instruction No: 8: Breach of Contract: Source of Plaintiff’s
Contractual Rights and Defendants Obligations ……………………………                 17

Requested Instruction No. 9: Breach of Contract: Relevant Provisions of
the Faculty Handbook ……………………………………………………………                              18

Requested Instruction No. 10: Breach of Contract: Implied Covenant of
Good Faith & Fair Dealing …………………………………………………………                          20

Requested Instruction No. 11: Negligent Misrepresentation ………………          22

Requested Instruction No. 12: Title VII and CFEPA Economic Damages ..     24

Requested Instruction No. 13: Affirmative Defenses – Burden of Proof …. 26

Requested Instruction No. 14: Mitigation of Damages ………………………. 27

Requested Instruction No. 15: Non-Economic Compensatory Damages ... 29
    Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 4 of 37




Requested Instruction No. 16: Punitive Damages ……………………………. 31

Requested Instruction No. 17: Award of Interest ……………………………..           32
      Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 5 of 37




                        REQUESTED INSTRUCTION NO. 1
                               CFEPA AND TITLE VII

              RETALIATION PROHIBITED BY CFEPA AND TITLE VII

      Under Title VII of the Civil Rights Act (“Title VII”) and the Connecticut Fair

Employment Practices Act (“CFEPA”), it is illegal for Yale University to retaliate

against an employee because that employee opposed what she believed to have

been gender discrimination and sexual harassment or testified, assisted, or

participated in any manner in an investigation of such claims.

   In order to establish her claim of retaliation, under Title VII and CFEPA, Susan

Byrne must prove to you by a preponderance of the evidence the following

elements as I will define them for you:

   1. Plaintiff was involved in a protected activity;

   2. Defendant was aware of the protected activity;

   3. Plaintiff suffered an adverse employment action occurred; and

   4. A causal relationship exists between the protected activity and the adverse

      employment action.

Heffernan v. City of Paterson, 136 S. Ct. 1412, 1418 (2016)

Kwan v. Andalex Group, LLC, 737 F.3d 834, 844 (2d Cir. 2013)

Terry v. Ashcroft, 336 F.3d 128, 140-41 (2d Cir. 2003)

Conn. Gen. Stat. § 46a-60

42 U.S.C. § 2000e-3




                                          1
      Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 6 of 37




                              1. PROTECTED ACTIVITY

      Title VII and the CFEPA protect the rights of employees when they oppose

a practice made unlawful by Title VII or the CFEPA, and when they participate in

any investigation, proceeding, hearing or litigation. In general, the term

“protected activity” refers to action taken to protest or oppose statutorily

prohibited discrimination or to assist another in opposing discrimination.

      With respect to claims based on opposition to discrimination, it is not

necessary for Plaintiff to prove that the practice she opposed was actually illegal.

Rather Plaintiff need only show that she was acting under a good faith belief that

Defendant’s actions violated the law and her protected activity was covered by

the statutes. Making an internal complaint regarding discrimination or sexual

harassment or participating as a witness in an investigation into possible

discrimination is considered to be protected activity under anti-discrimination

laws. Opposing discrimination against other individuals is also protected.

      In this case, Plaintiff claims she engaged in protected activity by 1) being

interviewed by Defendant’s attorneys as part of Defendant’s investigation into the

climate of the Department of Spanish and Portuguese (“the Climate Review”); 2)

being quoted and referenced in a March 25, 2015 Yale Daily News article about

complaints of discrimination and harassment by graduate students in the

Department; and 3) by testifying as part of Defendant’s Title IX investigation into

sexually inappropriate comments and behavior by Professor Roberto Gonzalez

Echevarria.




                                          2
      Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 7 of 37




      The law also prohibits employers from retaliating against someone

because they participated in an investigation or proceeding concerning

discrimination. Defendant’s Climate Review investigation and Title IX

investigation into sexually inappropriate comments and behavior by Professor

Gonzalez Echevarria constitute investigations that are covered by the anti-

discrimination statutes. If Plaintiff establishes that she participated in those

investigations by Defendant concerning discrimination, then her participation

would be protected and it would be illegal if Defendant retaliated against her

because of that participation.

      With respect to Plaintiff’s claims of retaliation based on her alleged

opposition to discrimination, it is up to you as the fact finder to determine

whether Plaintiff opposed what she believed was wrongful treatment against her

or other individuals on the basis of sex or otherwise engaged in protected activity

as I have explained that concept to you.

Littlejohn v. City of New York, 795 F.3d 297, 316 (2d Cir. 2015)

Terry v. Ashcroft, 336 F.3d 128, 140-41 (2d Cir. 2003)

§ 704(a) of Title VII of Civil Rights Act of 1964, 42 USCS § 2000e-3(a)

Conn. Gen. Stat. § 46a-60(b)(4)

Crawford v. Metropolitan Gov’t of Nashville and Davidson Cty., Tennessee, 555
U.S. 271, 277 (2009)

Martinez v. Premier Maintenance, Inc., 185 Conn. App. 425, 454 (2018)

Matima v. Celli, 228 F.3d 68, 78 (2d Cir. 2000)

Jute v. Hamilton Sundstrand Corp., 420 F. 3d 166 (2d Cir. 2005)

Deravin v. Kerik, 335 F.3d 195, 203-205 (2d Cir. 2003)

                                           3
      Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 8 of 37




           1.A. DEFENDANT’S PERCEPTION OF PROTECTED ACTIVITY

      Title VII and CFEPA prohibits agents of Defendant from taking adverse

employment actions against Plaintiff based on a mistaken perception that she

engaged in protected speech. Retaliation against Plaintiff for speaking out

against unlawful sexual harassment violates the law; it does not matter whether

Defendant was correct in believing Plaintiff had engaged in the protected activity.

      In this case, Plaintiff claims that Professors Adorno, Gonzalez Echevarria

and Valis had the mistaken perception that she was the author of a March 6, 2015

anonymous letter that was distributed to faculty members of the Department of

Spanish and Portuguese, members of Defendant’s administration, and was the

subject of a March 25, 2015 Yale Daily News article indicating that sexual

harassment was occurring in the Department.


Heffernan v. City of Paterson, 136 S. Ct. 1412, 1418 (2016)

Grosso v. City Univ., 2005 U.S. Dist. LEXIS 4089, at *8-9 (S.D.N.Y. Mar. 14, 2005)

Benedith v. Malverne Union Free School District, 38 F. Sup. 3d 286, 336 (E.D.N.Y.
2014)

Hughes v. Pastori, Docket No. CV09-4042(ADS) (WDW), 2012 U.S. Dist. LEXIS
104584, at *21 (E.D.N.Y. May 31, 2012)

42 U.S.C. § 2000e-3(a)

Conn. Gen. Stat. § 46a-60(b)(4)



                     2. KNOWLEDGE OF PROTECTED ACTIVITY
      It is undisputed that Defendant had corporate knowledge of Plaintiff’s

alleged protected activity.


                                          4
      Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 9 of 37




                         3. ADVERSE EMPLOYMENT ACTION

   It is undisputed that Plaintiff suffered an adverse action when she was denied

tenure and promotion.

                              4. CAUSAL RELATIONSHIP

      To establish a causal relationship, Plaintiff does not need to prove that her

protected activity was the only cause for the denial of tenure. You may find a

causal connection between her protected activity and the adverse actions

Plaintiff alleges based on statements by Defendant’s agents expressing animus

or hostility against Plaintiff because of her protected activities.

      In addition to such evidence, Plaintiff can also use circumstantial evidence

to show a causal connection between her protected speech and the adverse

employment action. Circumstantial evidence may take a number of forms,

including: (1) the proximity in time between the protected activity and the alleged

retaliation; (2) evidence of Defendant’s opposition to Plaintiff’s protected activity;

(3) treating Plaintiff differently than fellow employees who engaged in similar

conduct; and (4) evidence that the reasons proffered by the employer for the

adverse employment action were false or unworthy of belief, what the law refers

to as pretext.

      A showing of an adverse action soon after plaintiff engages in a protected

activity is indirect proof of a causal connection between the adverse employment

action and the protected activity, because the close proximity between the events

is strongly suggestive of retaliation. When there is a set time table for

employment actions creating longer gaps in time between the protected activity

                                           5
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 10 of 37




and the adverse employment actions, an inference of causation can still be drawn

from evidence that the employer could have been waiting for an opportune time

to retaliate. Statements by the employer in opposition to protected activity can

also be evidence of an intent to retaliate.

      Proof that the employer’s reason for the adverse action is unworthy of

belief is another form of circumstantial evidence that may be quite persuasive on

the issue of whether the employer was motivated to retaliate. You are entitled to

consider an employer’s dishonesty about the reason for the employment action

as “affirmative evidence of guilt” as well as circumstantial evidence of causation.

      In this case, Plaintiff alleges that Defendant voted to deny her tenure eleven

months after her protected activity of being quoted and referenced in a Yale Daily

News article; nine months after her protected activity of being interviewed for

Defendant’s investigation into the climate of the Department of Spanish and

Portuguese; and less than two months after she participated in Defendant’s Title

IX investigation into Professor Gonzalez Echevarria. Plaintiff also alleges that

Professors Adorno, Gonzalez Echevarria, and Valis held deep animus against her

for actual and perceived protected speech and the two investigations she

participated in were rife with retaliation against junior faculty such as herself.

Kwan v. Andalex Grp., 737 F.3d 834, 846 (2d Cir. 2013)

Vega v. Hempstead Union Free Sch. Dist., 801 F.3d 72, 90-91 (2d Cir. 2015)

D’Andrea v. Nielsen, 765 Fed. Appx. 602, 605 (2d Cir. 2019)

Univ. of Tex. Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2534 (2013)



                                          6
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 11 of 37




Richards v. Groton Bd. of Educ., 2015 U.S. Dist. LEXIS 110721, 2015 WL 4999803,
at *3 n.3 (D. Conn. Aug. 21, 2015)
Vogel v. CA, Inc., 2015 U.S. Dist. LEXIS 157068, at *8-9 (D. Conn. Nov. 20, 2015)
O'Connor v. Town of Guilford, 2017 Conn. Super. LEXIS 4834, at *13 n.7 (Super.
Nov. 7, 2017)
Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 147 (2000)

Mandell v. County of Suffolk, 316 F.2d 368, 383-384 (2nd Cir. 2003)

Housing Works, Inc. v. City of New York, 72 F. Supp. 2d 402, 422-30 (S.D.N.Y.
1999)

Davis v. State University of New York, 802 F.2d 638, 642 (2d Cir. 1986)

Gorman-Bakos v. Cornell Co-op Extension of Schenectady County, 252 F.3d 545,
554 (2d Cir. 2001)

Mandell v. County of Suffolk, 316 F.3d 368, 383 (2d Cir. 2003)

Espinal v. Goord, 558 F.3d 119, 129-30 (2d Cir. 2009)

Whaley v. City University of New York, 555 F. Supp. 2d 381, 406 (S.D.N.Y. 2008)

Gordon v. New York City Bd. of Educ., 232 F.3d 111, 117 (2d Cir. 2000)

White v. City of Middletown, 45 F.Supp. 3d 195, 219 (D. Conn. 2014)




                                         7
      Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 12 of 37




                         REQUESTED INSTRUCTION NO. 2
                   BURDEN OF PROOF: TITLE VII RETALIATION


      In order to prevail on her retaliation claim under Title VII, Plaintiff must

prove, by a preponderance of the evidence, that retaliation was a “but for” reason

for the adverse action. However, in order to prove that retaliation was a "but-for"

reason for the adverse action, Plaintiff does not need to prove that retaliation was

the only cause of Defendant’s action. Rather, for purposes of her Title VII

retaliation claim, Plaintiff only needs to prove that the adverse action would not

have occurred in the absence of the retaliatory motive. Even if there were

multiple reasons for an employer’s action, some retaliatory, and others that were

not retaliatory, the retaliatory reason would still qualify as a “but-for” reason if

the non-retaliatory reasons alone would not have caused the employer to take the

adverse action. Put another way, a retaliatory reason is still a “but-for” reason if,

in combination with other reasons, it was “the straw that broke the camel’s back.”

      Plaintiff may prove that retaliation was a but-for cause of an adverse

employment action through the totality of the evidence, including evidence of

retaliatory motive or intent, evidence that Plaintiff engaged in protected activity

which was followed shortly thereafter by the adverse action, and by

demonstrating weaknesses, implausibilities, inconsistencies, or contradictions in

the explanations offered by Defendant for its action. From such evidence, a

reasonable juror could conclude that the explanations were a pretext for a

prohibited reason.




                                           8
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 13 of 37




      In this case Plaintiff alleges that Professors Adorno, Gonzalez Echevarria

and Valis assumed and believed that Plaintiff was responsible for complaints and

speech about discrimination and sexual harassment that triggered investigations

and the Climate Review. These professors held animosity towards Plaintiff

because of these assumptions and took actions in retaliation, culminating in a

vote to deny Plaintiff tenure.



Burrage v. United States, 571 U.S. 204, 211, 134 S. Ct. 881, 888 (2014)
Univ. of Tex. Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2534 (2013)
Kwan v. Andalex Grp., LLC, 737 F.3d 834, 845-46 (2d Cir. 2013)
Vega v. Hempstead Union Free Sch. Dist., 801 F.3d 72, 90 (2d Cir. 2015)




                                         9
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 14 of 37




                        REQUESTED INSTRUCTION NO. 3
                   BURDEN OF PROOF: CFEPA RETALIATION


      In contrast to her retaliation claim under Title VII, Plaintiff may prevail on

her retaliation claim under CFEPA if she proves that her protected activity was a

motivating factor for Defendant’s adverse action against her. Plaintiff need not

prove that her protected activity was the only factor, or even the primary factor,

motivating Defendant’s decision. CFEPA prohibits making adverse employment

decisions which are, even in part, based upon a person’s protected activity.

      If Plaintiff proves that her protected activity was one of the motivating

factors in Defendant’s action to deny her tenure, she is entitled to prevail on her

claim under CFEPA.



Jacobs v. General Electric Co., 275 Conn. 395 (2005)
Tremalio v. Demand Shoes, LLC, No. 3:12-CV-00357 (VLB), 2013 U.S. Dist. LEXIS
140983, at *67 (D. Conn. Sep. 30, 2013)
Weisenbach v. LQ Mgmt., No. 3:13-cv-01663 (MPS), 2015 U.S. Dist. LEXIS 128839,
at *31 (D. Conn. Sep. 25, 2015)




                                          10
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 15 of 37




                           REQUESTED INSTRUCTION NO. 4

                                        AGENCY


         During these instructions I may refer at times to defendant Yale University

and at other times to its Department of Spanish and Portuguese, Departmental

Faculty Review Committee, or the Internal Review Committee. You may find that

Defendant acted through faculty members employed or engaged by its Department

of Spanish and Portuguese, Departmental Faculty Review Committee, or the

Internal Review Committee, and is therefore legally liable for the actions of those

committees or department.

         In various relationships, the law imposes liability upon one party for the acts

or the failure to act by another. The relationships in which such liability exists are

called agency relationships; the actor is said to be an agent of the responsible

party.

         In this case, the members of the Department of Spanish and Portuguese,

Departmental Faculty Review Committee, and the Internal Review Committee are

agents of Defendant and Defendant is liable for their acts or their failures to act, if

you find that they were acting within the scope of their employment and within the

scope of their duty when they took those actions. These preconditions establish

an agency relationship.

         Finding an agency relationship also means that you may also consider the

statements of Defendant’s employees, whether made in written letters or

memoranda, or in a deposition or at trial, to be statements of Defendant.

Additionally, you may also consider knowledge or notice to any agent/employee of


                                            11
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 16 of 37




Defendant to be the same as knowledge of or notice to Defendant on any issue

where notice or knowledge of Defendant is before you.



Wright, Fitzgerald and Ankerman, Connecticut Law of Torts § 63 (3rd Ed. 1991)

Wright and Ankerman, Connecticut Jury Instructions (Civil) § 21 (4th Ed. 1993)

Menaker v. Hofstra University, 935 F.3d 20, 37 n.81 (2d Cir. 2019)

Feliciano v. AutoZone, Inc., 316 Conn. 65, 80 (2015)




                                         12
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 17 of 37




                         REQUESTED INSTRUCTION NO. 5
                   NO DEFERMENT TO UNIVERSITY DECISIONS


      Defendant’s academic judgment is not on trial in this action. Employment

decisions by universities and colleges are not given any special immunity from

retaliation claims under Title VII or CFEPA. When a faculty member, such as

Plaintiff, seeks to enforce provisions of a Faculty Handbook, there is no

requirement that you defer to Defendant’s academic judgment.

      In this case it is not your role to make an academic judgment on the merits

of the tenure decision by the Department of Spanish and Portuguese. It is your

task to evaluate Defendant's actions for retaliatory animus taking into

consideration all the factors related to the decision. It is also your task to

evaluate the evidence supporting Plaintiff’s claim that the tenure decision was

made in violation of Defendant’s rules related to conflict of interest. Adherence

to Defendant's policies and procedures related to the making of tenure decisions,

particularly the requirement that a faculty member with a conflict of interest be

excluded from voting and deliberating, does not require you to question any

academic judgment.

Craine v. Trinity College, 259 Conn. 625, 625 (2002)

42 U.S.C. § 2000e-3

Powell v. Syracuse Univ., 580 F.2d 1150, 1154 (2d Cir. 1978)

Siani v. State Univ. of N.Y., 7 F.Supp. 3d 304, 325-326 (E.D.N.Y. 2014)

Whaley v. City University of New York, 555 F. Sup. 2d 381, 406 (S.D.N.Y. 2008)


                                          13
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 18 of 37




                         REQUESTED INSTRUCTION NO. 6
              REPEATED WARNINGS OF IMPENDING RETALIATION


      In this case Plaintiff claims that Defendant’s administrators at the highest

levels of the organization, were warned repeatedly that retaliation was taking

place in tenure decisions in the Department of Spanish and Portuguese. This

includes the allegation that Defendant’s Provost had evidence that Plaintiff was

being retaliated against but did nothing to intervene.

      When an employer knows that an act of retaliation has occurred and fails to

take action to remedy that violation, the employer liable for a violation of Title VII

and CFEPA.



Richardson v. New York State Dept. of Correctional Service, 180 F.3d 426, 446 (2d
Cir. 1999)
Burlington Industries v. Ellerth, 524 U.S. 742, 759 (1998)
Dymskaya v. Orem's Diner of Wilton, Inc., Docket No. 3:12-cv-00388 (JAM), 2015
U.S. Dist. LEXIS 28891 (D. Conn. Mar. 10, 2015)




                                          14
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 19 of 37




                        REQUESTED INSTRUCTION NO. 7
                             BREACH OF CONTRACT
      A contract is a legally enforceable agreement containing one or more

promises between the parties, which require each party to do or not do certain

things. Contracts may be written or oral or even implied by the course of conduct

of the parties, or some combination of these circumstances. It is not necessary

that all the terms of a contract be embodied in a single document signed by both

the parties. You, the jury, must consider the totality of the circumstances in order

to determine whether there is a contract of employment and what the terms of

that contract are.

      When interpreting the nature of the promises included in a contract, your

basic task is to determine and give effect to the intention of the parties. The

purpose of the agreement, the circumstances under which the agreement was

made, as well as the conduct and the words used by the parties before and after

the contract was entered into must be taken into account in interpreting the

contract. The purpose and circumstances you consider should include that it

was a contract for a tenure track teaching position; that is an arrangement

whereby a person is given the opportunity to gain tenure after a certain number

of years.

      In this case it is relevant for you to consider that the parties both agree that

Defendant’s Faculty Handbook and Faculty of Arts and Sciences Ladder Faculty

Promotion Handbook (“FAS Handbook”) contains the criteria and the procedures

for tenure. You may also consider that the terms of the Faculty Handbook

applicable to the tenure criteria and the procedures to be followed were not

                                         15
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 20 of 37




negotiated directly between the Plaintiff and the Defendant, but was a contract of

adhesion whose provisions were the result of a process of deliberation and

adoption by vote of the faculty of the college.

      You have been provided with documents which set forth the tenure criteria

and to the tenure process, including policies considering recusal from voting on

tenure applications. You have also heard testimony from several witnesses

interpreting the language at issue in this case which I will address below. You

may consider all of this evidence in deciding what the terms of the agreement

were and in giving effect to the intention of the parties.



Torosyan v. Boehringer-Ingelheim Pharmaceuticals, Inc., 234 Conn. 1, 14-15
(1995)

Coelho v. Posi-Seal International, Inc., 208 Conn. 106, 111-12 (1988)

Magnan v. Anaconda Industries, Inc., 193 Conn. 558, 566-67 (1984)

Craine v. Trinity College, 259 Conn. 625, 654 (2002)

Daley v. Wesleyan University, 63 Conn.App. 119, 120, (2001)




                                          16
      Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 21 of 37




                          REQUESTED INSTRUTION NO. 8
                              BREACH OF CONTRACT
     SOURCE OF PLAINTIFFS CONTRACTUAL RIGHTS AND DEFENDNAT’S
  OBLIGATIONS REGARDING THE STANDARDS AND PROCEDURES RELEVANT
 TO THE PLAINTIFF’S RIGHT TO BE GRANTED A FAIR REVIEW OF HER TENURE
                              APPLICATION
       Defendant is free to establish whatever criteria and procedures for making

the tenure decision it chooses, so long as those criteria and procedures are not

illegal.


       However, once Defendant establishes a procedure for making the tenure

decision as well as the criteria applicable to that decision and has communicated

these terms to those seeking tenure by publication in the Faculty Handbook, you

may properly find these become terms of the employment agreement between the

Plaintiff and the Defendant. Moreover, disputes between the parties regarding the

meaning of provisions of the Faculty Handbook or other terms of employment are

to be resolved by you according to my instructions. The fact the Defendant is an

academic institution, does not, in and of itself, alter the standards for interpreting

employment agreements.


Craine v. Trinity College, 259 Conn. 625, 654 (2002)

Daley v. Wesleyan University, 63 Conn.App. 119, 120, (2001)




                                          17
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 22 of 37




                         REQUESTED INSTRUCTION NO. 9
                                BREACH OF CONTRACT
             RELEVANT PROVISIONS OF THE FACULTY HANDBOOK
      Defendant’s Faculty Handbook and the FAS Handbook set forth the

guidelines for tenure. In this case, Plaintiff claims Defendant breached the

employment agreement represented by the Faculty Handbook and other related

documents because Defendant allowed members of the faculty with a conflict of

interest to vote on her case.

      Defendant’s Faculty Handbook discusses recusal from voting on a tenure

application, stating that, “[a] member of the faculty who has a personal or

professional conflict of interest concerning an individual on whom a vote is to be

taken must absent him or herself from all votes taken on that individual.”

Defendant’s FAS Handbook Voting Policies add that faculty members with a

conflict of an interest, “must absent him or herself from all discussions and all

votes taken on that individual.”

      Plaintiff claims Defendant breached the employment agreement when

Defendant’s Office of the Dean of the Faculty of Arts and Sciences failed to

properly administer and implement the FAS Handbook and adjudicate recusal

requests. More specifically, Plaintiff claims that the Office of the Dean of the

Faculty of Arts and Sciences violated the provisions of the Faculty Handbook

when it denied Plaintiff’s request that Professors Adorno and Gonzalez

Echevarria be recused from voting in her case.




                                         18
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 23 of 37




      You may consider this language when seeking to figure out the intent of

the plaintiff and the defendant as they approached their obligations under the

agreement. If you find that Defendant was bound by the conflict of interest

language in the FAS Handbook and the Faculty Handbook, that the FAS Dean

denied Plaintiff’s recusal request, and this denial caused the Department of

Spanish and Portuguese to unfairly apply Defendant’s tenure standard to

Plaintiff, then you may find that the defendant has committed a material breach of

contract.



Torosyan v. Boehringer-Ingelheim Pharmaceuticals, Inc., 234 Conn. 1, 14-15
(1995)

Craine v. Trinity College, 259 Conn. 625, 655 (2002)

Coelho v. Posi-Seal International, Inc., 208 Conn. 106, 111-12 (1988)

Magnan v. Anaconda Industries, Inc., 193 Conn. 558, 566-67 (1984)

McConnell v. Howard University, 818 F.2d 58, 69-71 (D.C. Cir. 1987)

Bason v. American University, 414 A.2d 522, 525 (D.C. 1980)

Fisherman v Smartserv Online, 2003 Conn. Super. LEXIS 338, at *27029 (Conn.
Super. Feb, 11, 2003)

Barry v. Posi-Seal International Inc., 36 Conn.App. 1, 6 (1994)

Nayar v. Howard University, 881 F. Supp. 15, 21-23 (D.D.C. 1995)

Sayers v. Rochester Tel. Corp. Supplemental Management Pension Plan, 7 F.3d
1091, 1094 (2d Cir. 1993)




                                         19
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 24 of 37




                        REQUESTED INSTRUCTION NO. 10
                              BREACH OF CONTRACT
         THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING


      In deciding Plaintiff’s breach of contract claim, you may be guided by the

implied covenant of good faith and fair dealing. In every contract the law implies

a promise by each party to deal fairly and in good faith with the other party. This

is called the implied covenant of good faith and fair dealing. The implied

covenant of good faith and fair dealing is a supplement to aid in the interpretation

of specific contract terms, but cannot be used to vary or change the terms of the

agreement.

      Good faith and fair dealing simply requires that each party act consistently

with the reasonable expectations of the other party, regardless of whether there

is a formal written requirement to do so. Here, Plaintiff alleges that she

reasonably expected that Professors Gonzalez Echevarria and Adorno would be

recused, consistent with Defendant’s policies requiring recusal when there is a

conflict of interest. It is your role as jurors to determine whether Plaintiff had a

reasonable expectation based on the language in the Faculty Handbook related to

the way in which conflicts of interest would be handled and whether Defendants

acted in a way to defeat her reasonable expectations by failing to require recusal.

If you find that Plaintiff’s reasonable expectations were defeated by Defendant’s

failure to implement the recusal provision in the Handbook then you may find this

failure constituted a breach of her employment contract.




                                          20
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 25 of 37




Torosyan v. Boehringer-Ingelheim Pharmaceuticals, Inc., 234 Conn. 1, 14-15
(1995)

Coelho v. Posi-Seal International, Inc., 208 Conn. 106, 111-12 (1988)

Magnan v. Anaconda Industries, Inc., 193 Conn. 558, 566-67 (1984)

Berkowitz v. President & Fellows of Harvard Coll., 58 Mass. App. Ct. 262, 269
(2003)

De La Concha of Hartford, Inc. v. Aetna Life Inc. Co., 269 Conn. 424, 432-33 (2004)

Jaser v. Fischer, 65 Conn.App. 349, 359-60 (2001)

Nygren v. Greater New York Mutual Ins. Co., 2009 U.S. Dist. LEXIS 26078, at *14-15
(D. Conn. Mar. 27, 2009)

McConnell v. Howard University, 818 F.2d 58, 69-71 (D.C. Cir. 1987)

Bason v. American University, 414 A.2d 522, 525 (D.C. 1980)




                                         21
      Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 26 of 37




                        REQUESTED INSTRUCTION NO. 11
                        NEGLIGENT MISREPRESENTATION


       Under Connecticut law, when one supplies false information for the

guidance of others, they are subject to liability for financial loss caused by their

reliance on the false information. The obligation imposed by this cause of action

is to exercise due care in obtaining and communicating information which will be

relied on by others in their business or profession.

   The elements of negligent misrepresentation are:

   1. That the defendant supplied false information
   2. Defendant failed to exercise reasonable care in obtaining or
      communicating the information
   3. Defendant supplied the information to induce plaintiff to act on the
      information
   4. Plaintiff justifiably relied on the information to their injury


   Even an innocent misrepresentation of fact may be actionable if the

representation is made by one who has the means of knowing, out to know, or

has the duty of knowing the truth.

   Plaintiff claims that Defendant negligently misrepresented the terms and

conditions under which she would be entitled to tenure. Plaintiff has alleged that

the criteria and procedures for tenure were published in the FAS Handbook and

the Faculty Handbook. Both Handbooks promise a fair review of a tenure case.

The FAS Handbook obligated Defendant to recuse an individual from discussions

and votes on tenure on that individual when there is a personal or professional

conflict of interest.




                                          22
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 27 of 37




   Plaintiff alleges that Defendant repeatedly misrepresented to her that

Defendant’s administration would not make decisions on the composition of the

Internal Review Committee until the Climate Review was completed. Plaintiff

alleges that she relied on these representations and it was not communicated to

her that a decision had been made on her request for Professors Adorno and

Gonzalez Echevarria to be recused from voting and deliberating on her tenure

application until it was too late for her to appeal the decision.

   In other words, plaintiff claims that she was told that defendant’s Handbooks

ensure a fair evaluation of her tenure case, but that due to the defendant’s

carelessness, what plaintiff was told was not consistent with defendant actually

did. Plaintiff claims that she has sustained a substantial loss from Defendant’s

failure to communicate accurate information because she was denied tenure at

Yale and has not been able to obtain similar employment elsewhere.



Connecticut Judicial Branch Civil Jury Instructions § 3.16-1

Sturm v. Harb Development, LLC, 298 Conn. 124, 143–44 (2010)

Craine v. Trinity College, 259 Conn. 625, 654 (2002)

Williams Ford, Inc. v. Hartford Courant Co., 232 Conn. 559, 575 (1995)

D’Ulisse-Cupo v. Board of Directors of Notre Dame High School, 202 Conn. 206,
217-18 (1987)




                                          23
      Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 28 of 37




                         REQUESTED INSTRUCTION NO. 12
                                      DAMAGES
                         TITLE VII AND CFEPA RETALIATION
                               ECONOMIC DAMAGES
      The purpose of money damages is to compensate the victim of wrongful

retaliation by putting them in the same position that they would have been in if

the wrongful retaliation had not occurred. If you find that the defendant

wrongfully retaliated against the plaintiff in violation of the CFEPA or Title VII,

then you should award the plaintiff the back pay that she would have earned --

that is, her salary, including salary increases you may find that she would have

received -- plus any fringe benefits to which she would have been entitled to less

any amount which the defendants have proven by a preponderance of evidence

that the plaintiff has earned from other employment. Fringe benefits include but

are not limited to the following items: health and life insurance, pension benefits

and vacation pay. The amount of back pay to be awarded is to be computed from

the date you may find that the defendants wrongfully discriminated or retaliated

up until today’s date.

      The plaintiff is not required to prove with unrealistic precision the amount

of lost earnings and benefits, if any, due to her. Any ambiguities in determining

what she would have earned need to be resolved against the defendants.

      In determining the amount of such damages, you are not to take into

account any money received by the plaintiff from Social Security, Medicare,

unemployment compensation or any other collateral source.




                                          24
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 29 of 37




Saulpaugh v. Monroe Community Hospital, 62 FEP Cases 1315 (2d Cir. 1993)

Whittlesey v. Union Carbide Corp., 742 F.2d 724 (2d Cir. 1984)

Buckley v. Reynolds Metals Co., 690 F.Supp. 211 (S.D.N.Y. 1988)

Dailey v. Societe Generaie, 889 F. Supp. 108 (S.D.N.Y. 1995)

Maturo v. National Graphics Inc., 722 F. Supp. 916, 927 (D. Conn. 1989)

Pal v. New York University, 583 F. App'x 7, 10 (2d Cir. 2014)




                                         25
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 30 of 37




                        REQUESTED INSTRUCTION NO. 13

                             AFFIRMATIVE DEFENSES

                                BURDEN OF PROOF

      The defendant in this case, in addition to denying the claims made by the

plaintiff, has asserted what are referred to as “affirmative defenses.” An

“affirmative defense” is a defense which, if established, defeats some or all of

plaintiff’s claims. The Defendant has asserted that the Plaintiff has failed to

mitigate her damages.


      The defendant has the burden of proof as to the allegations of any

affirmative defenses upon which the defendant relies. The plaintiff does not have

the burden to disprove the allegations of the defendant’s affirmative defenses.

Rather, each party has the burden of proving that party’s own claims or defenses

and no burden to disprove the claims or defenses of that party’s adversary.


Saks v. Franklin Covey Co., 316 F. 3d 337, 350 (2d Cir. 2003)

Cabrera v. Jakabovitz, 24 F.3d 372, 382-83 (1994)

Luciano v. Olsten Corp., 110 F.3d 210, 218 (2d Cir. 1997)




                                         26
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 31 of 37




                        REQUESTED INSTRUCTION NO. 14
                            MITIGATION OF DAMAGES
             The law of damages is that a plaintiff has a duty to take reasonable

measures to obtain employment that is comparable to the job that she had with

the Defendant. A comparable position means a substantially equivalent position.

Therefore, in this case, Plaintiff was only required to take reasonable measures to

find another job that was comparable, or substantially equivalent, to the job that

she had with the Defendant. Plaintiff was not required to accept a demotion, or

look for another line of work, or relocate. She was only required to make an

honest and reasonable effort to find another job that was substantially equivalent

to the job that he had with the Defendant.

       Unlike the issue of discrimination in this case, the burden of proving that

the plaintiff did not take reasonable measures to find and secure other

comparable, or substantially equivalent, employment is on the defendant. In order

to prove that the Plaintiff failed to reasonably mitigate his damages, the

defendant has the burden of showing by a preponderance of the evidence that

other substantially equivalent positions were available, and the Plaintiff made no

reasonable effort to find them. The employer must present evidence not only that

the employee did not make reasonable efforts to obtain substantially equivalent

employment, but also, that substantially equivalent employment existed. To

sustain its burden, the Defendant must present concrete evidence, mere

speculation is not sufficient. A plaintiff is only required to make reasonable

efforts to find a substantially equivalent position, and is not required to be

successful in finding other employment or to accept a lesser position. In addition,

                                         27
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 32 of 37




the reasonableness of the effort to find substantially equivalent employment

should be evaluated in light of the individual characteristics of the plaintiff, such

as her age, and the job market, and whether the Defendant took any action that

made it more difficult for Plaintiff to find other comparable, or substantially

equivalent, employment.

      In order to meet its burden that the plaintiff did not mitigate her damages,

the Defendant must prove that the plaintiff’s mitigation efforts were plainly

unreasonable, that other substantially equivalent positions were available, and

the plaintiff made no reasonable effort to find them.



McKenny v. John V. Carr & Son, Inc., 922 F. Supp. 967, 984 (D. Vt. 1996)

Greenway v. Buffalo Hilton Hotel, 143 F.3d 47, 53 (2d Cir. 1998)

Daily v. Societe General, 108 F.3d 451 (2d Cir. 1997)

Ford Motor Co. v. E.E.O.C., 458 U.S. 219, 231-32 (1982)

Clark v. Frank, 960 F.2d 1146, 1152 (2d Cir. 1992)

Rasimas v. Michigan Department of Mental Health, 714 F.2d 614, 624 (6th Cir.
1983) cert. denied, 460 U.S. 950 (1984)

Raimondo v. AMAX. Inc., 843 F. Supp. 806 (D. Conn. 1994)

EEOC v. Kallir, Philips, Ross, Inc., 420 F. Supp. 919 (S.D.N.Y. 1976), aff’d 559 F.2d
1203
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Perez v. Progenics Pharmaceuticals, Inc., 204 F. Sup. 3d 528, 558-9 (S.D.N.Y.
2016)




                                          28
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 33 of 37




                         REQUESTED INSTRUCTION NO. 15
                   NONECONOMIC COMPENSATORY DAMAGES
      If you find Defendant is liable to Plaintiff under Title VII or CFEPA, Plaintiff

is also entitled to recover noneconomic damages in an amount which will

reasonably compensate her for the loss and injury she has proven were actually

caused suffered as a result of by Defendant’s unlawful conduct. You may only

compensate the plaintiff for those injuries that are a direct result of defendants'

wrongful conduct. Plaintiff may not recover for any injury that existed prior to the

incidents at issue, or for any injury from which she suffered that was not caused

by the defendant's conduct.

      The damages you award must be fair compensation, no more and no less.

Compensatory damages are not allowed as a punishment and must not be

imposed or increased to penalize the defendant.

You may award Plaintiff reasonable compensation for the following:

   1. pain, suffering, and physical or emotional distress;
   2. embarrassment and humiliation;
   3. loss of enjoyment of life; that is, Plaintiff’s loss of the ability to enjoy
      certain aspects of her career and work life as a result of Defendant’s
      retaliatory actions; and
   4. harm to reputation.
      You may consider the testimony and the demeanor of Plaintiff in

considering and determining a fair allowance for any damages for emotional

distress, humiliation, and loss of enjoyment of life. Emotional harm may manifest

itself, for example, as sleeplessness, anxiety, stress, depression, marital strain,

embarrassment, humiliation, loss of respect, emotional distress, loss of self



                                           29
      Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 34 of 37




esteem, or excessive fatigue. Physical manifestations of emotional harm may

also occur, such as ulcers, headaches, skin rashes, gastrointestinal disorders, or

hair loss.

      In the determination of the amount of the award, it will often by impossible

for you to arrive at a precise award. These damages are intangible, and it is

difficult to arrive at a precise evaluation of actual damage for emotional harm

from gender discrimination. No opinion of any witness is required as to the

amount of such reasonable compensation. Nonetheless, it is necessary to arrive

at a reasonable award that is supported by the evidence.

      Finally, in determining the amount of the award, you should be guided by

dispassionate, common sense. You must use sound direction in fixing an award

of damages, drawing reasonable interferences from the facts and evidence. You

may not award damages based on sympathy, speculation, or guess work.

3 Devitt, Blackmar & Wolf, Federal Jury Practice and Instructions, 104.06 (4th Ed.
1987)
E.E.O.C. Policy Guide on Compensatory and Punitive Damages Under 1991 Civil
Rights Act (B.N.A., 1992) at II(A)(2), as modified
Wright & Ankerman, Connecticut Jury Instructions Civil, 7-1 Mental Anguish or
Emotional Distress - Defined (4th Ed. 1993, Supp. 1996)
Saulpaugh v. Monroe Community Hosp., 4 F.3d 134, 145 (2d Cir. 1993), cert.
denied, 510 U.S. 1164 (1994)
Lore v. City of Syracuse, 670 F.3d 127, 154 (2d Cir. 2012)
3 Hon. Edward J. Devitt, et al., Federal Jury Practice and Instructions § 104 A.11
(4th) ed. 1987 & Supp. 1997)
O’Malley, Grenig & Lee, Federal Jury Practice and Instruction § 170.60 (2001)
Sand, Siffert, Reiss, & Batterman, Modern Federal Jury Instructions (Civil), Instr.
1.1.3 (2004)
42 U.S. Code § 1981a

                                         30
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 35 of 37




                        REQUESTED INSTRUCTION NO. 16
                            TITLE VII: PUNITIVE DAMAGES
      You may award the plaintiff punitive damages if you find the defendant

liable for her claims retaliation under Title VII. You may make an award even if

you find that the plaintiff has failed to establish actual damages.

      Punitive damages may be awarded for actions taken with malice or with

reckless indifference to the rights of the plaintiff. The defendant acted with

malice and reckless indifference if it acted in the face of a perceived risk of

violating federal law, or that it knew or should have known that its actions would

violate federal law. If you determine that the defendant acted with malice or

reckless indifference to the rights of the plaintiff in connection with the

allegations made by plaintiff in her Title VII claims, then you may award punitive

damages to the Plaintiff.

      In considering the amount of punitive damages to award you may also

consider the Defendant’s wealth or net worth. This is because one of the many

purposes of punitive damages is deterrence and that deterrence is directly

related to what an institution can afford to pay.

DiSorbo v. Hoy, 343 F.3d 172, 189 n.9 (2d Cir. 2003)

Whitney v. Citibank, N.A., 782 F.2d 1106, 1119 (2d Cir. 1986).

Cush-Crawford v. Adchem Corp., 271 F.3d 352, 354 (2d Cir. 2001)

Kolstad v. American Dental Association, 527 U.S. 526, 538 (1999)

42 U.S. Code § 1981a



                                          31
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 36 of 37




                       REQUESTED INSTRUCTION NO. 17
                              AWARD OF INTEREST
      On an award of economic damages, the jury may award interest at the legal

rate of 10% per annum as additional damages. Such interest runs from the time

the money was due. Therefore, if you find for the plaintiffs on the issue on

economic damages and award damages for the loss of pay and the plaintiffs

suffered, you may add such damages, and interest at the rate of 10% per year

from the date the loss of pay was suffered.



Gaudio v. Griffin Health Services Corporation, 249 Conn. 523, 553-54, 733 A.2d
197 (1999)

Connecticut General Statutes § 37-3a

28 U.S. Code § 1961




                                        32
     Case 3:17-cv-01104-VLB Document 98-20 Filed 12/30/19 Page 37 of 37




             Certification of Good Faith Effort to Resolve Differences


       I hereby certify that I have made a good faith effort to resolve any
differences in the parties proposed jury instructions.




                                              /s/ Claire M. Howard
                                              Claire M. Howard




                                         33
